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   Attorneys for Plaintiff Federal Trade Commission
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18                       UNITED STATES DISTRICT COURT
14                    CENTRAL       DISTRICT OF CALIFORNIA
19
15                                           Case No. CV 15-4527-GW(PLAx)
20 FEDERAL TRADE COMMISSION,
                                             NOTICE OF MOTION AND
21
16                     Plaintiff,            MOTION FOR SUMMARY
22                                           JUDGMENT ON ALL COUNTS
17                      v.                   AGAINST ALL DEFENDANTS;
23                                           OR, IN THE ALTERNATIVE,
18  BUNZAI MEDIA GROUP, INC.,                FOR SUMMARY
24 et al.,                                   ADJUDICATION OF CLAIMS
25
19                     Defendants.
26
20
27
      PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY
      JUDGMENT ON ALL COUNTS AGAINST ALL DEFENDANTS; OR, IN
      THE ALTERNATIVE, FOR SUMMARY ADJUDICATION OF CLAIMS
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1          TO DEFENDANTS AND ALL OTHER INTERESTED PARTIES
2          Please take notice that on May 16, 2016, or as soon thereafter as counsel
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3
3    may be heard by the Court, Plaintiff Federal Trade Commission (“FTC”) will and
4
5
4    hereby does move the Court for summary judgment against Defendants Alon
6    Nottea, Doron Nottea, Igor Latsanovski, Roi Reuveni, Alan Argaman, Secured
5
7
6    Merchants LLC, CalEnergy, Inc, and Relief Defendant Chargeback Armor, Inc.
8
9
7          Plaintiff seeks summary judgment because there is no genuine issue as to
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 8 any material fact and that Plaintiff is entitled to judgment as a matter of law for
11
 9 the following reasons:
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13
10         1.     Section 5(a) of the FTC Act15 U.S.C. § 45(a), empowers the FTC to
14
11 prevent “deceptive acts or practices in or affecting commerce.”
15
12       2.    Section 4 of the Restore Online Shoppers’ Confidence Act
16
17
13 (“ROSCA”), 15 U.S.C. § 8403, generally prohibits charging consumers for goods
18
14 or services sold on the Internet through a negative option feature, unless the seller
19
15 clearly and conspicuously discloses all material terms of the transaction before
20
21
16 obtaining the consumer’s billing information, obtains the consumer’s express
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17 informed consent before making the charge, and provides a simple mechanism to
23
24 stop recurring charges.
18
25
19     3.     Under Section 5 of ROSCA, 15 U.S.C. § 8404, a violation of
26
20 ROSCA is a violation of a rule promulgated under Section 18 of the FTC Act.
27
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1          4.     Section 907(a) of the Electronic Funds Transfer Act (“EFTA”),
2    15 U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R.
2
3
3    § 205.10(b) require that, before a merchant can make recurring debits to a
4
5
4    consumer’s credit or debit card account, it must obtain a written authorization
6    signed or similarly authenticated by the consumer.
5
7
6          5.     Under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), the Court is
8
9
7    authorized to grant equitable relief, including injunctive and monetary relief, for
10
 8 violations of Section 5 of the FTC Act.
11
 9        6.    Under Section 19 of the FTC Act, 15 U.S.C. §§ 57b, Section 5 of
12
10 ROSCA, 15 US.C. § 8404, and Section 917(c) of the EFTA, 15 U.S.C. §
13
14
11 1693o(c), the Court is authorized to grant such relief as the Court finds necessary
15
12 to redress injury to consumers, including but not limited to rescission or
16
17
13 reformation of contracts, restitution, the refund of monies paid, and the
18
14 disgorgement of ill-gotten gains.
19
15       7.    As alleged in Complaint Counts 1, 2, 3, and 4, Defendants have
20
21
16 violated Section 5 of the FTC Act by making false and unsubstantiated claims in
22
17 connection with:
23
18
24              a. their failure to disclose the material terms of their offer to

25
19                   consumers;
26
20                b. their false representations that their “trial offer” was “risk free”;
27
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1                c. their false representations that their enterprise maintained an “A-”
2                    Better Business Bureau rating when in fact the lost their
2
3
3                    accreditation more than a year prior after receiving an “F” rating;
4
5
4                    and
6                d. their charging consumer credit card accounts without
5
7
6                    authorization.
8
9
7          8.    As alleged in Complaint Count 5, Defendants have violated Section 4
10
 8 of ROSCA by:
11
 9           a. failing to disclose clearly, if at all, material terms of their negative
12
13
10                   option continuity plan;
14
11               b. routinely charging consumers for continuity plans without
15
12                   obtaining their express informed consent; and
16
17
13               c. failing to provide a simple mechanism for cancelling the
18
14                   continuity plan.
19
15         9.    As alleged in Complaint Count 6, Defendants have violated Section
20
21
16 907(a) of the EFTA and its accompanying Regulation E by
22
17              a. maintaining terms and conditions regarding recurring monthly
23
18
24                 fees are not clear and readily understandable; and

25
19               b. failing to provide a consumer copy of credit charge authorizations,
26
20                   instead illegally relying upon their websites’ obscure “Terms and
27
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1                   Conditions” hyperlinks to serve as such a copy despite their not
2                   complying with the EFTA’s rules for consumer copies.
2
3
3          10.   As alleged in Count 7, Defendant Chargeback Armor is liable for
4
5
4   damages under Section 5 of the FTC Act because it received, directly or
6   indirectly, funds and other assets from Defendants that are traceable to funds
5
7
6   obtained from Defendants’ customers through the unlawful acts or practices
8
9
7   described herein.
10
 8      This motion is based on this Notice of Motion and Motion; on the
11
 9 accompanying Memorandum of Points and Authorities and Statements of
12
10 Uncontroverted Fact and Conclusions of Law; on the accompanying declarations
13
14
11 and exhibits; on the declarations and exhibits filed by the FTC in support of the
15
12 FTC’s motion for preliminary injunction; on deposition testimony and discovery
16
17
13 responses lodged or filed in conjunction with this Motion; on all pleadings and
18
14 other documents on file in this action; and on such other matters as may be
19
15 presented to the Court at the time of the hearing.
20
21
16      The FTC seeks the relief proposed in the accompanying [Proposed] Final
22
17 Judgment for Permanent Injunction and other Equitable Relief against the
23
24 Corporate Defendants and Individual Defendants.
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25
19       This motion is made following the conference of counsel pursuant to L.R.
26
20 7-3, which took place on or about (date).
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1          Should the Court not grant summary judgment on all claims against all
2    Defendants, Plaintiff requests that, pursuant to Rule 56(g) of the Federal Rules of
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3
3    Civil Procedure, the Court enter an order that states each material fact (including
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5
4    any items relating to equitable monetary relief) that the Court finds is not
6    genuinely in dispute and which treats the fact as established in the case.
5
7
6
8
                                                        Respectfully submitted,
9
7
10
 8 Dated: 4/18/16                                       _____/s/ Reid Tepfer___________
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 9                                                      Texas Bar No. 24079444
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